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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
                  Criminal No. 22-CR-182 (JNE/ECW)


UNITED STATES OF AMERICA,

                  Plaintiff,                 GOVERNMENT’S NOTICE OF
      v.                                     INTENT TO CALL WITNESS AT
                                             MOTIONS HEARING

JOHN LEE JONES,

                  Defendant.


     The government intends to call the following witness to testify at the

October 5, 2022, motions hearing in the above-captioned matter:

     1. Hennepin County Sheriff Office Sergeant Nicholas Peterson,
        regarding the traffic stop of a vehicle in which Defendant John Lee
        Jones was a passenger on June 28, 2022, and the circumstances
        surrounding Defendant’s statements.

The government expects the anticipated testimony of the witness will take

approximately 40 minutes on direct examination.

Dated: September 28, 2022                Respectfully submitted,

                                         ANDREW M. LUGER
                                         United States Attorney

                                         s/Samantha H. Bates
                                         BY: SAMANTHA H. BATES
                                         Assistant U.S. Attorney
